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                                APPENDIX A
                               CAST OF CHARACTERS

                                                                          Iranian actors
                                                                          MTN actors
                                                                          South African actors


Name                                    Description
Aristo Oil International Services LLC   The consulting company based in Dubai that facilitated
                                        the sham consultancy agreement with Iranian Deputy
                                        Foreign Minister Javid Ghorbanoghli.
Aref, Hamad                             Son of former Vice President of Iran, Mohammad Reza
                                        Aref, who met with MTN in June or July 2004
                                        regarding Iran’s efforts to build its defense force and
                                        procure defense materials with MTN’s help.
Bonyad Mostazafan (“the Bonyad”)        A major “charitable foundation,” controlled by the
                                        Supreme Leader of Iran and run by former officials of
                                        the Iranian Ministry of Defense, that is a member of
                                        IEDC, which is the 51% partner in MTN-Irancell.
Charnley, Irene                         Member of MTN Group’s Board of Directors and MTN
                                        Group’s Commercial Director of the Strategic Projects
                                        Division.
Dabengwa, Sifiso                        Member of MTN Group’s leadership, currently Chief
                                        Executive Officer of MTN and formerly Chief
                                        Operating Officer.
Denel (Pty) Ltd.                        The largest manufacturer of defense equipment in South
                                        Africa, which produces Rooivalk helicopters.
East Asian Consortium, B.V.             Wholly owned subsidiary of Turkcell that made the
                                        initial bid in Iran for the second GSM license.
Fardis, Dr. Masoum                      Member of the Iranian Ministry of Information and
                                        Communications Technology.
Ghorbanoghli, Javid                     Iranian Deputy Foreign Minister who received a bribe
                                        from MTN and provided political support to MTN from
                                        within Iran to help MTN obtain the second GSM
                                        license.
Hosseinzadeh, Mousa Abolfazl            Iranian who is the managing partner of the consulting
                                        company, Aristo Oil International Services LLC, that
                                        facilitated the same consultancy agreement with Iranian
                                        Deputy Foreign Minister Javid Ghorbanoghli.



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Name                                 Description
Iran Electronic Development Co.      An Iranian company formed by Sairan and the Bonyad
(IEDC)                               that joined with MTN in partnership to receive the
                                     second GSM license.
Iran Electronic Industries (IEI or   Iranian state-owned defense company that is a member
Sairan)                              of IEDC, which is the 51% partner in MTN-Irancell.
                                     IEI is on the OFAC Specially Designated Nationals List.
Irancell                             Originally Turkcell’s local Iranian partner in forming a
                                     joint venture to obtain the second GSM license; later
                                     joined with MTN to form the MTN-Irancell partnership
                                     that ultimately received the second GSM license.
Khamenei, Ayatollah Ali              Second Supreme Leader of Iran, ruling from June 4,
                                     1989, and former President of Iran from 1981 to 1989.
Lekota, Mosiuoa Gerard Patrick       South African Minister of Defense with whom MTN
“Terror”                             used its close political ties to assure the Iranian
                                     government that it could provide nuclear and defense
                                     support in exchange for the second GSM license.
Mahmoudzadeh, Dr. Ebrahim            Former Iranian Deputy Minister of Defense and
                                     President of the state-owned defense company Sairan
                                     (also known as Iran Electronic Industries or “IEI”).
Mbeki, President Thabo               South African President from 1999 to 2008.
Mbeki, Zanele                        Wife of President Mbeki and friend of MTN executive
                                     Irene Charnley.
Minty, Abdul                         South African Ambassador to the IAEA who interacted
                                     with MTN officials leading up to the South African vote
                                     at the IAEA to refer Iran to the U.N. Security Council.
Mokhber, Mohammed                    Deputy President of the Bonyad, with a close
                                     relationship to Ayatollah Khamenei. Mr. Mokhber is
                                     listed in E.U. regulations as an individual subject to
                                     sanctions for being associated with Iran’s proliferation
                                     of nuclear weapons.
MTN International (Mauritius) Ltd.   Wholly owned subsidiary of MTN Group.
Nhelko, Phuthma                      Former Chief Executive Officer of MTN Group, now
                                     retired from MTN.
Nisbet, Robert                       Former Chief Financial Officer of MTN Group, now
                                     retired from MTN.
Parman Ertebat                       One of Turkcell’s initial partners in its successful bid for
                                     the second GSM license.
Ramaphosa, Cyril                     Chairman of MTN Group.
Rowhani, Hassan                      Iranian nuclear negotiation chief.



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Name                             Description
Sairan (a/k/a Iran Electronic    Iranian state-owned defense company that is a member
Industries or IEI)               of IEDC, which is the 51% partner in MTN-Irancell.
                                 Sairan is on the OFAC Specially Designated Nationals
                                 List.
Saloojee, Yusuf                  South African Ambassador to Iran who received a bribe
                                 from MTN and provided political support to MTN in
                                 both South Africa and Iran to help MTN obtain the
                                 second GSM license.
Sarraf, M.K.                     Former Deputy for the Iranian Ministry of Information
                                 and Communications Technology who assisted MTN in
                                 its work within Iran to usurp Turkcell.
Shamkhani, Ali                   Iranian Minister of Defense who worked with MTN
                                 leadership in securing assistance to procure weapons
                                 from South Africa.
Solan, Joseph                    Director of MTN Group subsidiary, MTN Nigeria, who
                                 resides in Potomac Maryland.
Vafaei, A.                       Vice President of Sairan who worked with MTN
                                 towards procuring weapons from South Africa.
Woicke, Peter                    Member of MTN Board of Directors who has resided in
                                 the District of Columbia.




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